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                                               Case No. 24-6136

                                                     In The
                                 United States Court of Appeals
                                      for the Ninth Circuit
                                            ____________________

                                               J. DOE 1, et al.,
                           Individually and on behalf of all others similarly situated,

                                                                  Plaintiffs and Petitioners

                                                        v.

                                             GITHUB, INC., et al.,

                                                          Defendants and Respondents
                                            ____________________

                           Petition for Permission to Appeal a Certified Order from
                     the United States District Court for the Northern District of California,
                                  No. 4:22-cv-06823-JST, Hon. Jon S. Tigar

                   MOTION TO SEAL DEFENDANT-RESPONDENTS MICROSOFT
                    CORP. AND GITHUB INC.’S ANSWER TO PETITION FOR
                                 PERMISSION TO APPEAL

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                                               INTRODUCTION

                    Pursuant to Fed. R. App. P. 27 and 9th Cir. R. 27-13, Plaintiff-Petitioners J.

             Does 1-5, (“Petitioners”) respectfully move the Court to redact and seal

             information that can be used to personally identify Petitioners Doe 1 and Doe 2,

             which Defendant-Respondents GitHub, Inc. and Microsoft Corp. (“Respondents”)

             provisionally filed under seal in their Answer to Petition for Permission to Appeal

             Pursuant to 28 U.S.C. § 1292(b). Dkt. 14.2. By the motion, Petitioners seek to

             maintain the sealing of the limited information previously ordered sealed by the

             district court. In particular, Petitioners seek to seal their identities and information

             sufficient to identify them. Petitioners seek to seal this information because of

             threats against them, including threats of violence and bodily harm. Petitioners

             presented evidence of such threats and based on this evidence, the district court

             made factual findings that Petitioners faced serious and repeated threats of physical

             violence should their identities be revealed. That threat continues. Further,

             Respondents still have identified no prejudice in allowing Petitioners to proceed

             pseudonymously. Indeed, Petitioners’ identities were disclosed to Respondents

             under the protection of the protective order entered by the district court.

                    By their motion, Petitioners seek to maintain under seal only those portions

             of the record that the district court ordered sealed after taking evidence regarding

             the likely harm to Petitioners. Petitioners do not request that material other than



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             information used to personally identify Petitioners in the instant motion be

             maintained under seal or otherwise to expand the limited scope of sealed material.

                                        FACTUAL BACKGROUND

                    Petitioners filed their lawsuit pseudonymously using fictitious names,

             because they reasonably feared they would be subject to threats of retaliation and

             violence if their identities were known to the public. 1 Those fears were

             unfortunately well-justified. Petitioners, through their counsel, received numerous

             threats of physical violence. These are specific threats of violence sent directly to

             Petitioners’ counsel. Declaration of Joseph Saveri (“Saveri Decl.”), Ex. 1. Indeed,

             the threats of physical violence predate the filing of Petitioners’ initial Complaint.

             Id. at ¶ 2. One message states: “I literally hope someone murder you.” Id., Ex.1 at

             1. Mere days after Petitioners filed their initial Complaint, Petitioners’ counsel

             received the following message: “go f*****g cry about github you f*****g piece

             of s**t n****r, I hope your throat gets cut open and every single family member of

             you is burnt to death.” Id., Ex. 1 at 2. These are only examples. Petitioners’ counsel

             received other threats, which were passed on for investigation to the Federal

             Bureau of Investigation. Id. at ¶ 4.

                    Respondents objected to Petitioners’ efforts to protect themselves. The


             1
               Other than the names and other information which could be used to identify
             Petitioners, Petitioners did not seek to seal any of the other material set forth in the
             operative complaints. Declaration of Joseph Saveri at ¶ 5.

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             district court asked for an evidentiary showing supporting proceeding

             pseudonymously and protecting otherwise identifying information. Petitioners

             made the requisite showing, including providing examples of the many serious

             threats of violence to Petitioners and Petitioners’ counsel, including those referred

             to above. Doe 1 v. GitHub, Inc., 672 F. Supp. 3d 837, 852 (N.D. Cal. 2023)

             (“Doe 1”); See also, Saveri Decl., Ex. 1 (examples of threatening emails).

             Respondents, as here, opposed the motion. Having received the evidence, and

             giving Respondents an opportunity to respond, the district court entered a

             thorough, reasoned opinion analyzing that evidence and properly applying the

             applicable Ninth Circuit legal standard. In its order, the district court carefully

             balanced the need for public disclosure against the privacy interests of Petitioners

             and the demonstrable and likely harm to them that would result from public

             disclosure of their identities. The district court concluded that the Petitioners had

             made a sufficient showing, establishing good cause to redact and seal their

             personally identifying information. In particular, the district court found evidence

             of serious and repeated online threats of violence and harassment sent to

             Petitioners and their counsel as sufficient basis for Petitioners proceeding

             pseudonymously. Doe 1 at 852–53 (“The threatened harm in this case—death –is

             plainly severe.”); See also, Saveri Decl., Ex. 1. Since then, the litigation has

             proceeded pseudonymously pursuant to the district court’s order.



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                    On October 8, 2024. Petitioners filed their Petition for Permission to Appeal

             Pursuant to 28 U.S.C. § 1292(b). Dkt. 1. On October 17, 2024, Respondents filed

             their Notice of Intent to Unseal and Document Submitted Provisionally Under

             Seal. Dkt.13. On October 17, 2024, Respondents filed their Answer to Petition for

             Permission to Appeal Order Under 28 U.S.C. § 1292(b) provisionally under seal.

             Dkt. 14. Respondents provisionally redacted Petitioner Doe 1’s computer code on

             page 13 (pg. 20 of 35) and a description of Petitioner Doe 2’s computer code on

             page 24, (pg. 31 of 35), previously sealed in the district court proceedings. Dkt.

             14.2. This information, if revealed, could reveal the identities of Petitioners,

             subjecting them to the serious and real threats of violence avoided by the district

             court’s order. See Doe 1 at 852–54. Respondents have not sought to appeal the

             district court’s order protecting Petitioners’ identities.

                                                  ARGUMENT

                    9th Cir. R. 27-13(f) provides that if a party seeks to continue a seal or

             redaction issued by the district court that the opposing party filed provisionally

             under seal, it must move for appropriate relief within 21 days of the filing of that

             provisionally sealed document. 9th Cir. R. 27-13(e) states that a party moving for

             sealing or redaction must explain “the specific reasons for this relief and describe

             the potential for irreparable injury in the absence of such relief.” Here, repeated

             violent death threats aimed at Petitioners and their counsel are the reasons



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             Petitioners continue to seek to proceed anonymously and seek to continue to redact

             information that could be used by the public to personally identify them. The

             irreparable injury here is potential violence or death.

                    The violent threats Petitioners and their counsel received upon filing this

             lawsuit are disturbing and caused the district court below to allow Petitioners to

             proceed pseudonymously. Doe 1 at 852. Information that can be used to personally

             identify Petitioners has been consistently sealed and redacted in the district court

             proceedings. Respondents have not been prejudiced in any way.

                    Parties may proceed pseudonymously “in the ‘unusual case’ when

             nondisclosure of the party's identity ‘is necessary ... to protect a person from

             harassment, injury, ridicule or personal embarrassment.” Does I thru XXIII v.

             Advanced Textile Corp., 214 F.3d 1058, 1067–68 (9th Cir. 2000) (“Advanced

             Textile”). The threats of physical harm which have occurred here “present[ ] the

             paradigmatic case for allowing anonymity.” Doe v. Kamehameha Sch./Bernice

             Pauahi Bishop Est., 596 F.3d 1036, 1043 (9th Cir. 2010) (“Kamehameha”). Where

             a party seeks to proceed pseudonymously because of the threat of retaliation or

             other threatened harm, a district court must balance five factors: (1) the severity of

             the threatened harm, (2) the reasonableness of the anonymous party's fears, (3) the

             anonymous party's vulnerability to such retaliation, (4) the prejudice to the

             opposing party, and (5) the public interest. Kamehameha at 1042.



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                    The first two factors of the balancing test for retaliatory harm severity of the

             threatened harm and the reasonableness of the fear of such harm—“are intricately

             related and should be addressed together.” Id. at 1040. Petitioners need not prove

             the speakers” intend to carry out the threatened retaliation, but rather “that a

             reasonable person would believe that the threat might actually be carried out.”

             Advanced Textile at 1071. It is in the purview of the court to view alleged threats in

             context and determine what the “reasonable” person in the Petitioners’ situation

             would fear. Kamehameha at 1044.

                    The district court, after reviewing only a sample of threatening emails (see

             Saveri Decl., Ex. 1), found that Petitioners and their counsel have been subject to

             repeated “veiled threats wishing death upon Plaintiffs’ counsel on the basis of his

             involvement in this lawsuit.” Doe 1 at 852. Respondents do not appear to contend

             to the contrary. Based on the evidence presented, the district court found it

             reasonable for Petitioners to fear that threats might be carried out against them if

             their identities were to become public based on emails that wished death upon their

             counsel. Id. at 853. Further, neither the court nor the Respondents identified at the

             time—nor since then—any prejudice to proceeding pseudonymously. Id. Indeed,

             Petitioners’ identities are known to them subject to the underlying protective order

             in the case, such that Respondents are able to defend themselves in the underlying

             litigation. Finally, the court found that where, like here, the Petitioners’ identities



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             are not central to the issues raised by a case, the public interest may not be harmed

             by permitting Petitioners to proceed pseudonymously. Id. Consideration of these

             factors lead the district court to allow Petitioners to proceed pseudonymously, and

             they continue to warrant the redaction of personally identifying information at

             issue here. Id. There has been no prejudice to Respondents since then. 2

                    Respondents provide no justification for overturning the district court’s

             factual findings and ruling allowing Petitioners to proceed anonymously for their

             personal safety. Respondents’ attempts to minimize or slough off the real and

             serious threats made against Petitioners are not well-taken. The district court found

             the threats are real and serious. Moreover, the Ninth Circuit rules which control

             sealing do not provide a rationale for overturning the district court’s findings or

             ruling either. The district court’s ruling was grounded in the facts and amply

             supported by applicable Ninth Circuit law. Doe 1 at 852-53 (citing cases). 3 Also,

             the sealing motion is as narrowly tailored as feasible, seeking to seal only

             Petitioners’ names and personally identifying information. By sealing this



             2
               Counsel has been provided with Petitioners’ names and other information.
             Discovery has progressed in the district court, including the production of
             documents and responses to interrogatories on behalf of Petitioners pursuant to the
             Protective Order issued in the case. Petitioners also participated in court-sponsored
             mediation before the Honorable Sallie Kim.
             3
               The district court’s order is based on factual findings regarding the threats and
             other unsettling communications targeted at Petitioners and their counsel. Those
             findings are entitled to deference. See Fed. R. Civ. P. 42(a).

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             information, consideration of the merits of the appeal will not be limited in any

             way nor will any prejudice inure to the parties.

                    For these reasons, Petitioners respectfully request the Court continue to

             maintain the provisional redactions in Respondents’ Answer: (1) a paragraph of

             Petitioner Doe 1’s computer code from their GitHub repository that could be used

             to personally identify them, and (2) a description of Doe 2’s Code that could be

             used to personally identify them. Dkt. 14.2.

                               PAGE                                      REASON

                                  13                        Computer Code that can be used to
                      (pg. 20 of 25 of Dkt.14.2)            personally identify Doe 1.
                                  24                        Description of Computer Code that can
                      (pg. 31 of 35 of Dkt.14.2)            be used to personally identify Doe 2.


                                  POSITION OF OPPOSING COUNSEL

                    Petitioners notified Respondents’ counsel of this Motion. Respondents

             oppose Petitioners’ request to continue to seal the above information that can be

             used to personally identify Petitioners.

                                               CONCLUSION

                    For the foregoing reasons, Petitioners respectfully request the Court continue

             to redact the personally identifying information provisionally filed under seal on

             pages 13 and 24 of Respondents’ Answer to Petition for Permission to Appeal

             Order Under 28 U.S.C. § 1292(b). Dkt.14.2.



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              Dated: November 7, 2024                  /s/ Joseph R. Saveri
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                                   CERTIFICATE OF COMPLIANCE

                    This brief complies with the length limits permitted by Federal Rules of

             Appellate Procedure 27(d). The brief is 9 pages. The type size and typeface

             comply with Rule 32(a)(5). I further certify that this brief complies with the

             typeface and type-style requirements of Rule 32(a)(5)-(6) because it is printed in a

             proportionally spaced 14-point font, Times New Roman.

              Dated: November 7, 2024                      /s/ Joseph R. Saveri
                                                              Joseph R. Saveri




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                                      CERTIFICATE OF SERVICE

                    I hereby certify on this 7th day of November, 2024, I caused a copy of the

             foregoing motion to be served on all counsel of record by way of email.

             Dated: November 7, 2024         By: /s/ Joseph R. Saveri




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